Case 1:22-cr-00439-JKB Document 160 Filed 01/03/24 Page1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

United States of America %
Vv. * Criminal Case No. JKB-22-439
Wayne Prince *
KKK

, A ial 3 ou iG
24 JAN S PHG-O REGULAR SENTENCING ORDER

(1) On or before 2/12/2024 (not more than 40 days from the date of this order), the Probation
Officer shall provide the initial draft of the presentence report to counsel for the Defendant for
review with the Defendant. If the Defendant is in pretrial detention, defense counsel may not
provide a copy of the recommendations section of the presentence report to the Defendant in
advance of meeting to review the presentence report, and may not leave the recommendations
section of the presentence report with the Defendant once the review has taken place. The
Probation Officer shall also provide the initial draft of the presentence report to counsel for the
Government.

(2) On or before 2/26/2024 (not less than 14 days from date in paragraph 1), counsel shall
submit, in writing, to the Probation Officer and opposing counsel, any objections to any material
information, sentencing classifications, advisory sentencing guideline ranges, or policy
statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

Sentencing Guidelines Order - Regular (Rev. 12/2019)

Case 1:22-cr-00439-JKB Document 160 Filed 01/03/24 Page 2 of 3

made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting
forth those objections and any comment thereon.

(4) On or before 3/8/2024 (not less than 11 days from date in paragraph 2), the Probation
Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before
3/12/2024 (not less than 14 days before sentencing), a Statement containing (a) the names of the
witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated
length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If
submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before
3/12/2024 (not less than 14 days before sentencing). Opposing or responding memoranda are not
required. If submitted, they shall be delivered to chambers on or before 3/19/2024 (not less than 7
days before sentencing). Copies of all memoranda must be sent to the Probation Officer.
Sentencing memoranda are not sealed documents. If the memoranda or attachments contain
sensitive material, they should be filed under seal and accompanied by a motion to seal.

(7) If the Government intends to seek restitution, a memorandum requesting
restitution and all supporting documentation shall be filed on or before 3/12/2024 (not less than 14
days before sentencing). Failure to provide the restitution information or an explanation for why the
restitution information is not yet ascertainable by this date may result in an order to show cause
why the information could not have been timely provided and may result in the Court denying or

delaying restitution until after a hearing not to exceed 90 days after sentencing.

Sentencing Guidelines Order - Regular (Rev. 12/2019)
Case 1:22-cr-00439-JKB Document 160 Filed 01/03/24 Page 3 of 3

(8) Sentencing shall be on 3/26/2024 at 10:00 am.

(9) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before
or during the sentencing hearing.

(10) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

January 3, 2024 fd fren 14 f — il

Date James K. Bredar
United States District Judge

Sentencing Guidelines Order - Regular (Rev. 12/2019)

